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             EXHIBIT L
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             EXHIBIT L-1
To:
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From:

Sent:      Thur 9/27/2018 5:36:03 PM (UTC-07:00)
Subject:   Zogg Mine Rd request from

 To whom it concerns;
 On September 27 2018,                     met with                  @ 1400 to look at her property to see what still needs to be cut
 and cleaned up.
 She was very nice with me and she is fine with us going back tomorrow to start cleaning up the trees that we cut.
 There is only one black locust tree that needs to be trimmed and all of the trees that were originally signed up have been delisted.
 Some of those trees will be addressed during routine inspection.
 Starting tomorrow morning, the cleanup crews are going to chip all of the limbs and cut every tree into 4’ lengths and leave the
 trunks where they lay.
           only request is to never send the flagger from the previous days back on Zogg Mine Rd in the future.         will not be a
 problem if we stick to these requests from her.


 Consulting Utility Forester // CNUC
 Certified arborist-applicator//



                              // LinkedIn // Employee Owned
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             EXHIBIT L-2
To:
Cc:                  Case 3:14-cr-00175-WHA Document 1323-12 Filed 03/03/21 Page 5 of 19
From:

Sent:     Thur 9/27/2018 5:00:30 PM (UTC-07:00)
Subject: RE: Under Lines QC
Copy of Under Lines QC Report.xlsx




 Attached is the Underline QC report completed.

        • A couple of the Zogg Mine Rd. locations were very difficult to locate. Work has been completed.
        • Some locations were already ‘delisted’ in Collector.
        • I will be available on Monday if need be.


 Please contact me with questions.

 Thanks,


 NV/NC




 From:
 Sent: Wednesday, September 19, 2018 10:29 AM
 To:
 Subject: Under Lines QC

 *****CAUTION: This email was sent from an EXTERNAL source. Think before clicking links or opening
 attachments.*****

 Attached is a spread sheet with trees that were listed for trims or removals that state they are under the lines. Could
 you please look at these and delist them in Collector if they do not meet Patrol 2's standard? To delist them, just type
 "Delist" in the comments section. Let me know if you have any questions.

 Thanks!



 "Insert acorn-y tree pun here"

                        │UTILITY FORESTER

 MOUNTAIN G. ENTERPRISES, INC.
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             EXHIBIT L-2.1
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                     Native Excel File
           Provided to the Court on a Hard Drive
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             EXHIBIT L-3
To:
Cc:                  Case 3:14-cr-00175-WHA Document 1323-12 Filed 03/03/21 Page 9 of 19
From:

Sent:      Tue 10/9/2018 9:56:16 AM (UTC-07:00)
Subject:   CNUC Routine Patrol Schedule

 Hey

 Here is a list in order of the circuits that CNUC will be patrolling on routine.

        1. Keswick 1101 (Just started. One CUF is currently patrolling along Iron Mountain Road toward the mine).
        2. Zogg Mine (Girvan 1101) – I will coordinate with you and have a CUF patrol it very soon in order to minimize the impact to
        customers as discussed in today’s meeting.
        3. Girvan 1102 – Will be starting in about 3 weeks
        4. French Gulch 1102 – Will be starting within 3 to 4 weeks
        5. French Gulch 1101 – Will be starting within 3 to 4 weeks.


 I’ll have either             or                 call you later today or tomorrow to coordinate working with                   If you
 have any questions feel free to reach out to myself or             Thanks.


 Regional Supervisor // CNUC
 Certified Arborist/
 Qualified Tree Risk Assessor

               mobile
               main
 cnutility.com // LinkedIn // Employee Owned
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              EXHIBIT L-4
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              EXHIBIT L-5
To:
From:              Case 3:14-cr-00175-WHA Document 1323-12 Filed 03/03/21 Page 14 of 19
Sent:      Wed 11/7/2018 8:56:17 AM (UTC-08:00)
Subject:        review of Carr fire


Out the gate, our fire team managed well under tremendous stress and steep learning curve. The biggest thing to over
come is the fact that PG&E does not let Veg. get their work done first. It's just crazy how line crews put poles and wire up
so fast and leaves hazards ready to fall on new construction.                      was VPM at the beginning until he and
             started buttting heads.      and I learned first hand the workings of             mind this way. At first we had
some people with some fire experience.                             JM Forestry) I'm sure I'm missing someone. But as people
went back to their projects we were left with people who were clueless. (Tree Medics, DRG poles test from Texas and I'm
sure missing someone!

Assessing Burnt trees is a very difficult task. And next to none of all the people are arborist.

     and myself were chained to our seats for the first three weeks. The fact of the matter is   was not checking on his
task force leads to make sure they were doing their jobs or even knew what their jobs task were.


 Area 1: Was the smallest of areas.                 came on because of           and                     is a talker not a
doer.      left and that put        of Tree Medics in charge. With three months experience in tree work,          became a
chain smoker of stress. I tried to help out in anyway I could in his area to clean up Collector. And manage the MFE crew
working in his area.


Area 3:             powered up demanding most of the resources leaving           area with next to nothing and took my MFE
guy's as well. (with        blessing). When        left,       moved to fire manger that left      in charge of area 3. Wow,
      was also clueless but he really stepped up to the plate and got the job done. He was at every tree crew meeting at
6AM. Worked well with tree contractors and got the job done. He, like all the rest needs more training in hazard tree ID.
He put in a great effort!


Area 2:              Oh poor        had the largest area, the least amount of resources of the distribution areas and has no
clue of what he is to do.        idea of managing is to move crews like chess pieces. It took to the end of the fire for him to
get any one area done. There were trees EVERYWHERE standing.             could not stay focused on any one task. When given
the resources the job still didn't get done.     should not be in a role such as this until he can mature, and learn to focus.
              was instrumental on getting area 2 organized. When I would ask him how things were going he always had a
plan and had no clue where or what         was doing.


Transmission: With active fire and smoke we were delayed by four days to get anything going. There was a power struggle
between               and myself, as well as transmission GC/MC and tree crew work. DRG worked with us, but worked
against thru the process. I was able to get DRG off the fire and things smoothed out between        and myself. With only
having MFE having a CWA for transmission it made it really tuff to get our work done. Distribution had 30% of my work
force and even when I could get approval to bring more on, they would still get more of my guys. I still got done before the
rest, and would have finished everything if I had all of my MFE out the gate. Because of        I had to work with limited
resources. My guy's,                      my right hand man, hard working and never giving up. A pain in the ass at times,
the fix would be to give him his own command. JM Forestry, hard working and I would have them back anytime.
        was sent to replace               is no           I could have worked without him. That brings us to            he
does what he is told to do, he stays focused till the end. I hope he remembers half of what I've show him. He is a hard
worker and he shows up to work on time (mostly) and ready to work. I would really like to have him back again on the
next fire.
The players in review:
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J    is over the top. He needs to learn use tack and better self control. He can be a great asset to MGE as long as he can
mature and except other peoples ideas and ways.          thinks he knows it all and can be very argent. I sometimes hated
working with or for him. But, he does have it inside of him to be open and be able listen to others ideas. It has taken some
time for me to except his ways, and I have found that there is caring person deep inside that boy. That he can talk to
customers and bring understanding to those with problems with Veg. management.              has done a great Job. (we need to
work on his work ethics a bit)



                   I like     but...


Tree Medics, not for fires.


     needs to learn that being a lead, is not all about commanding, it is about leading.

            took on a big task and worked hard on getting something done.             needs to mature, stay focused on the "
why we are here." Great Job!



      got the job done. He delegates work but I'm not sure if he works.         is a mystery to me.

      has a great work ethic, hard working and just needs training in arboriculture. Great job!


                   hard working and understands all facets of fire. Because we room together and we vented on each
other we get along just fine.       needs his own team to learn how to mange people.

            really needs to grow up. I don't think he cares much about anything except on getting paid.

          was a clean slate, he has grown, matured, listened, and perform to the best of his ability. Great Job!


              (DRG,DMS), oh my god, great organizer, and able to keep people on task. she speaks out and help keep
everything reported correctly. We got to hire her.



Carr fire takes:

         and           idea was to remove questionable trees from our markings. Yes trees were mismarked. Yes trees would
not reach. But many trees have died next to the lines that have been blacked out. So we as MGE have said these 3,000
trees are safe till routine can get these down on the ground. All it takes is ONE dead tree we left standing to go through the
brand new lines to give use a black eye. Neither        or        work for MGE.

I have questioned       on this tack and he thinks trees will hit the ground in three months. The fact of the matter is a tree
crew will not show up for a much longer time. I hope they are right and I'm wrong.                    said to me that he
would be happy if we got 98% percent done. But we are leaving 10%.

Collector can work. and     is the guy with the knowledge to it make work. We need less hands, messing with Collector
and more people that want it to work. The spreadsheet I sent you shows the mess. Check out transmission side we made it
work with %100 percent complete across sheet. We need a full time GIS person on the fire to take care of just the fire.
As we talked, we need
                  Caseto3:14-cr-00175-WHA
                         develop a Emergency team with knowledge
                                              Document   1323-12 and  back03/03/21
                                                                   Filed   ground in Page
                                                                                     tree and
                                                                                           16risk assessment.
                                                                                              of 19
A command center to keep people and information in one spot. A backup list of other Companies or employees who can
support our work if needed.

I'm fresh out of comments, and hope find this information useful in the coming events.
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              EXHIBIT L-6
To:
Cc:                    Case 3:14-cr-00175-WHA Document 1323-12 Filed 03/03/21 Page 18 of 19
From:

Sent:          Tue 11/20/2018 11:42:55 AM (UTC-08:00)
Subject:       RE: Hazardous Tree Issue? CARR FIRE

           ,

 I met with        and he wasn’t satisfied that “P2” trees that were marked from the fire are still standing. In my opinion the
 remaining “P2” trees (6 or so) don’t need work. Our routine patrol has already inspected the area and 1 of the trees in question
 has been signed up under our routine patrol. Please let me know if you have any additional questions.

 Thanks,



 Project Manager // CNUC
 Certified Arborist /
 ISA Tree Risk Assessment Qualification
                mobile
                main
 cnutility.com // LinkedIn // Employee Owned
 “Don’t learn safety by accident”




 From:
 Sent: Tuesday, November 13, 2018 1:31 PM
 To:
 Subject: FW: Hazardous Tree Issue? CARR FIRE
 Importance: High

 Hi

 Please see the below safety inquiry a customer has brought up. Can you forward to the appropriate person to handle. Thank you!

                                             . States new pole placed near location by dead overhanging burnt tree. Customer states
 he is highly concerned that tree will fall and initiate a fire. Told customer I would escalate concern."


 Customer Information:
 Customer:                           .
 Phone:
 Address:

                                            | Electric Outreach Specialist
 Local Customer Experience, North Valley Division
 Pacific Gas and Electric Company




 From:
 Sent: Friday, November 09, 2018 10:35 AM
 To:
 Subject: Hazardous Tree Issue # 00278800

 Hi            ,
                    Case 3:14-cr-00175-WHA Document 1323-12 Filed 03/03/21 Page 19 of 19
I’ve just assigned this case                     to you.

Customer Information:
Customer:
Phone:
Address:

Please let me know if you have any questions.

Thank you in advance,
Terentius



S.T.A.R.T. Team Advisor
Small and Medium Business Energy Solutions
Pacific Gas and Electric Company

Monday-Friday 8:00am-4:30pm

Safety is our highest priority at PG&E. The PG&E Small and Medium Business team wants to remind you to always call 811 before
you dig or plant!
This free service is available to all our customers. www.pge.com/digsafely
